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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 Evan Ng,                                              Civ. No. 21-2404 SRN/BRT

                      Plaintiff,

 v.
                                                     ORDER ON STIPULATION TO
 Board of Regents of the University of                 AMEND CASE CAPTION
 Minnesota; Mark Coyle in his official
 capacity as Director of Athletics for the
 University of Minnesota; and Joan T.A.
 Gable in her official capacity as President
 of the University of Minnesota,

                      Defendants.




       This matter is before the Court on the parties’ Stipulation to Amend Case Caption

(Doc. No. 53.)

       IT IS HEREBY ORDERED that:

       The above-captioned matter shall now read as follows:


       Evan Ng,
                     Plaintiff,
       vs.
       Board of Regents of the University of
       Minnesota; Mark Coyle in his official
       capacity as Director of Athletics for the
       University of Minnesota; and Joan T.A.
       Gabel in her official capacity as President
       of the University of Minnesota,
       CASE 0:21-cv-02404-SRN-BRT Doc. 56 Filed 03/09/22 Page 2 of 2




                  Defendants.


Dated: March 9, 2022              s/ Becky R. Thorson
                                  BECKY R. THORSON
                                  U.S. Magistrate Judge




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